             Case 1:20-cr-00330-AJN Document 327 Filed 08/24/21 Page 1 of 1



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                                                    August 24, 2021

Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

                       Re: United States v. Ghislaine Maxwell
                                 S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The government cannot resist the opportunity to gratuitously cast Ghislaine Maxwell in a
negative light while it defends the Metropolitan Detention Center at all costs, regardless of the facts.
[Dkt. 326]. The government accuses Ms. Maxwell of using a cart to barricade the door to the VTC
room. The cart was never used to barricade. The government has chosen to make this an issue - when it
never was - to justify the restriction placed on the amount of legal materials Ms. Maxwell can bring into
the VTC room on any given day.

        The government mischaracterizes facts to which it does not have first-hand knowledge.
Ms. Maxwell continues to use the cart daily to bring legal material into the VTC room and to remove
those documents at the end of the VTC session. Most of her legal papers are kept in a separate room.
She is only allowed to bring a certain portion of documents to any given VTC session and is not allowed
to leave the VTC room to collect additional documents that may be needed for review and discussion
with counsel. The amount of legal material Ms. Maxwell can access depends upon rules that fluctuate
with each team rotated into the MDC every two weeks to guard her.

      This limitation impacts the productivity of VTC and in-person legal conferences and
compromises Ms. Maxwell’s ability to prepare for trial.

                                                    Very truly yours,

                                                    /s/
                                                    BOBBI C. STERNHEIM

cc: All counsel
